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                               Davis County Sheriff's Office
                                                 Correctional Division
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                                       Inmate Request and Grievance Fonn                                               ~i.,.rL o
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                                Case 1:21-cv-00129-RJS Document 10-10 Filed 12/28/21 PageID.208 Page 3 of 22
                                                                                 DAVIS COUNTY SHERIF'F'S DEPARTMENT
                                                                                                                         Medigal Inmate Req\lestfGrieyanc~ Form                                                                                                       Date:

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Medical/Dental Treatment Policy
In order to facilitate a request for treatment, the inmate must fill out a Medical Request Forni asking for treatment. Inmate will then be
assessed by a nurse. It is our policy that no one be denied medical treatment. Pleas~ refer to your inmate handbook or price list on the Kiosk
for appropriate fee.



,Answer:


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Disposition by:                                           -------------=================~:=                                                                                                                                        Date: _ _ _ _ _ _ _ Time:
Returned to inIJlate by:                                                                                                                                        Original_ medical file; Yellow - ilnmate with response                                                                                                                                                                                                                    DCJ-444
                                   Case 1:21-cv-00129-RJS Document 10-10 Filed 12/28/21 PageID.210 Page 5 of 22
                                                                              DAVIS COUNTY SHERIFF'S DEPARTMENT
                                                                                                              Medical Inmate Request/Grievance Forin                                                                                       Date:

Inmate Name: - - - ~ - - - - ' - - - - - - ' - - - - - - - - - - - - - - - Booking#:                                                                                                            .._;,_"'----"-'----'--- Housing:

Request:

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In order to facilitate a request for treatment. the inmnte must fill out a Medical Request Fonn asking for treatment. fnmate will then be
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 Case 1:21-cv-00129-RJS Document 10-10 Filed 12/28/21 PageID.211 Page 6 of 22
                                                  Davis County Sheriff's Office
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                                                   I)avis County Sheriff's Office                                                                                                                                                   H
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  Name                                                                                                         Inmate#                     _ _ _ _ _ _ _ _ I lousing Unit


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-         Case 1:21-cv-00129-RJS Document 10-10 Filed 12/28/21 PageID.212 Page 7 of 22


                            DAVIS COUNTY JAIL
                               Medical/Dental
    Name; ANGEL CHRISTOPHER          Inmate ID#; 398403
    ABREU                            Date: 09/14/2020
    Housing Unit; Q-2l;DCCF;POD6;
    QUEBEC
    Inmate Reqµw;.
    09/14/2020 19:33:08
    i need to see the doctor asap for my face an the infection ive been having and just seen u for. my face is worse and u didnt give me
    meds
    Inmate Signature/Date::_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    Staff Resl)~
    09/14/2020 20:37:17                                                                                   .
    We
    Staffjust sent your culture
           Signature/Date: __   out_
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                                      _ lab.
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                   DA VIS COUNTY JAIL
                    Watch Commander
Name; ~GEL CHRISTOPHER      Inmate ID#: 398403
ABREU                       Date· 09/14/2020
Housing Unit~ Q-21;DCCF;POD6•                                                '
QUEBEC                                                     '
Inmate Bequest;
09/14/2020 10:31:06
im documenting once again the constant concern with my medical treatment at this facility. ive been dealing with this aggr~ssive
~umps/ra~h on my body for the past year and a half now and Ive seen medical countless times regarding my concern for this. At first
twast~ld tt w~s a rashh _from working out. then I wastold its possibly staff infection. then it became staff and i almost lost my leg
o~er it.. then 1 was told 1t achnc.thcn i was told it is stress boils. now im being told it is herpes.i went to the dr on friday 9/11/20 fo~
this as it has spread to all over my face. and ive been told before that i need tosee a dennatologist but the jailwont let me go. now im
being told its herpesand thats no joke to not help me with. ive been begging for treatment and have been denied antibiotics, creams,
or any medicine to help treat or cure this. everylime i go to the dr i am told something different than last. now i was told i ne~d a
 swab test done before the dr will help me or can. im curious to why im just now being told i need to swab test done after see mg the
 dr for a year anf shalfnow and about 16 times. i was toldthat all the medicinei was given before was for nothing as theres no real
 way totell what is wrong without running test. so the doctors have been playing guessing games and now im told i have herpes? . .
 thats nothing to play aguess game with and im demanding proper treatment a.nd medicine as i have been for 2years n~w almost. if 1
 need to see a dermatologist then i wantto go see one. i need help and ive been asking for it soplease help me figure this ~u.t. I caught
 this in here too so id expect some type of treatment. but im tired of seeing mdical ad not being treated or given and medtcme to help
me
Inmate Signature/Date::_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 Staff Response;
 09/15/2020 3:46:10
 A copy of this grievance bas been given to medical
 Staff Signature/Date:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                                                                                    JNMATE COPY'
                                                             Case 1:21-cv-00129-RJS Document 10-10 Filed 12/28/21 PageID.214 Page 9 of 22

                                                                    Davis County Sheriff's Office
                                                                                                                                                       Correctional Division
                                                                            Inmate Rea_uest and iGrievance Form
    Name
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                                                                                                                                                       Inmate#
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                                                                                                                                                                                  --~.) - ·                                                                                   Housing Unit

   Date                                                                     Check One:                                   .t) Request                           {,J Inmate Grievance                             ( ) Good Time                                                 ( ) Disciplinary Appeal                                       ( ) Other

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   Describe Problem or Request:                                                                              1,_:. ,                                                                                                                                                                ·




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Returned to Inmate by: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Date
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Ori6>inal - Classification File Yellow - Inmate w/rcsponse                                                  Pink - Inmate
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             Case 1:21-cv-00129-RJS Document 10-10 Filed 12/28/21 PageID.215 Page 10 of 22



                DAVIS COUNTY JAIL
N                  Medical/Dental
~:,~GEL CHRISTOPHER      InmateJD#: 398403
H        ·                                                              Dat~i. 09/25/2020
 Qysing Unit1 Q-21 ·DCCF·POD6·
QUEBEC             '    '    '
Inmate Request;
09/2512020 16:43:0&
:::~s  s~aking  so ~o~g                                                                                      a
                        for my appointment to get set for my crown to be placed on the tooth i just had root canal on. its been over a
         mcc my VlStt, •h~ost two, and now my tooth broke a little for not having a crown. why do yall make it such II issue form~ to
get the PT?pcr treatment l need. please get this done. if its not II problem with my health and dealing wilh getting help from you with
that then lls a problem with dental and gelling the care i need for that. ive been here for 2 years and im close lo falling apart from the
lack of proper trcltmenl. im no\ trying to be disrwpecliul but you gotta understand my fruslcration consdcring all the issues ivc
had
Inmate     your medical department.
     withSignature/Date:. ____       please
                                       __   come
                                               _ talk
                                                   __  to me_so_we_can  _get_this
                                                                               _done
                                                                                   __ beforo
                                                                                          __  i need
                                                                                                  _dentures
                                                                                                      ___     at 24
                                                                                                                 _years
                                                                                                                     __   old_ _ __

Staff Rqpons;
09/30/2020 14:59:40
Your insurance requires a waiting period for further payment. Jn December, your insurance will pay 50% and you will n~ to pay
the other $341,SO. To have it done before that, the total cost to you would be $683.00 as there would be no payment from 111surance.

 Also, please realize that this ls all contingent upon a1>proval for transport out of the facility for whac is considered an elective
 procedure.
 Smfi 5i1D1tur;:1Date;




                                                                                               iNMATE (COPY
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                                                                                                                                   10/1/2019
 ASK Admln Ropor1s
                                                                                                                                   11:48 AM
                                                               Davis County
                                                           Print Mossago Roport
                                                        From 1/1/1900 To 10/1/2019

Caso #: 286932
         lnmato: ABREU, ANGEL                          ID: 201807649                             Typo: Grievance
         Recipient: Admln, System                      Created: 9/13/2019 11:29 AM               Category: Watch Commander Grievance
         Collblook: ROMEO 23 L                                                                   Sub•Catgory:
                                                                                                 Statue: Closed, Unfounded


From                        To                         Mossago                                                        Entered


ABREU, ANGEL                 Admln, System              look I need to speak with a captain or someone with           9/13/2019 11:29:00 AM
                                                        the proper rank. your dentist wont help me because of
                                                        his lack of social and emotional Intelligence. hes
                                                        Inadequate and Is denying me the help and medicine I
                                                        need for my dental and medical concerns. I reached
                                                        out with my health and dental Issues Im aware of and
                                                        asl<ed for help In pointing me the right directions lo
                                                        recleve treatment I need, Instead I was kicked out of
                                                        the dental room without any of my questions answered
                                                        or my anllblollcs for a life threatening Infection hes
                                                        aware or. Im now being denied any report of my visit
                                                        and I need to speak to a captain about the details of
                                                        this visit and my treatment going forward.


Olsen,                      Swaner,                     Can you address this situation?                                9/14/2019 6:58:00 AM




Administrator, System       ABREU, ANGEL                Case closed by System due to no activity.                      9/21/2019 6:59:00 AM

                                      (0111,11,:)!;(:-!n/Oue   CJF>cH (E1,nl11aiion Version)




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     Case 1:21-cv-00129-RJS Document 10-10 Filed 12/28/21 PageID.217 Page 12 of 22




Dlsposltlon by:
Returned to Inmate by. _ _ _ _ _ __
°"""1-a......·NrlWIM-•~ ........
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Case 1:21-cv-00129-RJS Document 10-10 Filed 12/28/21 PageID.219 Page 14 of 22
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